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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 ARTHUR DOE; BRENDA DOE; CAROL                                                     PLAINTIFFS
 DOE; DIANA DOE; and ELIZABETH
 DOE

 V.                                                    CAUSE NO. 3:16-CV-00789-CWR-FKB

 JIM HOOD; MARSHALL FISHER;                                                      DEFENDANTS
 CHARLIE HILL; COLONEL CHRIS
 GILLARD; and LT. COLONEL LARRY
 WAGGONER

                                               ORDER

       Three motions are presently before the Court. First is plaintiffs’ motion for summary

judgment. Second, plaintiffs ask the Court to certify a class. Third, defendants seek an

opportunity to take discovery. Finding defendants’ motion dispositive, the Court does not reach

the merits of those submitted by plaintiffs.

       A month after filing their complaint, plaintiffs filed a motion for summary judgment.

They argue that their case presents two purely legal questions: (1) whether Mississippi’s

“Unnatural Intercourse” statute violates plaintiffs’ rights to due process, per Lawrence v. Texas,

539 U.S. 558 (2003); and (2) whether Mississippi’s treatment of out-of-state offenses as

equivalent to an “Unnatural Intercourse” conviction violates plaintiffs’ rights to equal protection.

Plaintiffs simultaneously moved to certify a class. Defendants replied with the limited

information available to them, and requested an opportunity to take discovery.

       A party is entitled to discovery prior to a ruling on a motion for summary judgment, “[i]f

a nonmovant shows by affidavit or declaration that, for specified reasons, it cannot present facts

essential to justify its opposition.” Fed. R. Civ. P. 56(d). “Rule 56(d) discovery motions are

‘broadly favored and should be liberally granted.’” Biel Loan Co. III-A, LLC v. Lee Freyer
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Kennedy Crestview, LLC, No. 1:10-CV-153-HSO-JMR, 2011 WL 1321328, at *1-2 (S.D. Miss.

Apr. 4, 2011) (quoting Culwell v. City of Fort Worth, 468 F.3d 868, 871 (5th Cir. 2006)). “[T]he

rule is designed to safeguard non-moving parties from summary judgment motions that they

cannot adequately oppose.” Am. Family Life Assurance Co. of Columbus v. Biles, 714 F.3d 887,

894 (5th Cir. 2013) (quotation marks and citation omitted).

         Defendants ask for discovery to determine which plaintiffs or other putative class

members are on Mississippi’s Sex Offender Registry “solely for conduct recognized as

constitutionally protected by Lawrence v. Texas.” They have invoked the rule and filed the

required affidavit.

         The Court agrees that defendants should be afforded an opportunity to confirm the nature

of each individual’s “registerable offense(s).”1 Discovery is necessary for responding to

plaintiffs’ motion for summary judgment as well as the process of class certification. See, e.g.,

McDougle v. Neshoba Cnty. Miss., No. 3:15-CV-350-CWR-FKB, 2016 WL 83785 (S.D. Miss.

Jan. 7, 2016). Discovery will be conducted, however, in accordance with the Court’s Order

issued this date, to preserve plaintiffs’ anonymity.

         Defendants’ motion for discovery and the entry of a scheduling order is granted.

Plaintiffs’ motions for summary judgment and class certification are dismissed without prejudice

to their refiling.

         SO ORDERED, this the 2nd day of June, 2017.


                                                               s/ Carlton W. Reeves
                                                               UNITED STATES DISTRICT JUDGE



1
  To confirm, for example, that (1) the only conviction that would require plaintiffs and putative class members to
comply with Mississippi’s Sex Offender Registry was Unnatural Intercourse or its out of state equivalent; and (2)
that the facts supporting the conviction involved only consenting adults.

                                                          2
